










Opinion issued January 21, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01-03-01043-CV




JOSHUA SCHWAGER, Appellant

V.

BELLAGIO, A Wholly Owned Subsidiary of MIRAGE RESORTS,
INCORPORATED, Appellee




On Appeal from the 165th District Court
Harris County, Texas
Trial Court Cause No. 2003-01375




MEMORANDUM OPINIONAppellant Joshua Schwager has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov’t
Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon Supp. 2004) (listing fees in court
of appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals).  After being
notified that this appeal was subject to dismissal, appellant Joshua Schwager did not
adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c)
(allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.
PER CURIAM
Panel consists of Justices Nuchia, Jennings, and Alcala.


